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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

 ADAM SNITKOFF, individually, and on
 behalf of all others similarly situated,            Case No.:
                Plaintiff,
                                                     CLASS ACTION COMPLAINT
 v.

 YALE NEW HAVEN HEALTH SERVICES                      DEMAND FOR JURY TRIAL
 CORP.,

                Defendant.                           Dated: May 6, 2025


       Plaintiff Adam Snitkoff (“Plaintiff”) brings this class action against Defendant Yale New

Haven Health Services Corp. (“Defendant”) for its failure to properly secure and safeguard

Plaintiff’s and Class members’ protected health information (“PHI”) and personally identifiable

information (“PII”) stored within Defendant’s information network.

I.     INTRODUCTION

       1.      Defendant is a health care provider and Connecticut corporation that provides a

variety of healthcare and related services to its patients.

       2.      Defendant acquired, collected, and stored Plaintiff’s and Class members’ PHI/PII.

       3.      At all relevant times, Defendant knew, or should have known, that Plaintiff and

Class members would use Defendant’s services to store and/or share sensitive data, including

highly confidential PHI/PII and financial information.

       4.      On no later than March 8, 2025, upon information and belief, unauthorized third-

party cybercriminals gained access to Plaintiff’s and Class members’ PHI/PII and financial

information as hosted with Defendant, with the intent of engaging in the misuse of the PHI/PII and
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financial information, including marketing and selling Plaintiff’s and Class members’ PHI/PII and

financial information (the “Data Breach”).

        5.       The total number of individuals who have had their data exposed due to

Defendant’s failure to implement appropriate security safeguards is approximately 5.5 million

patients.1

        6.       Personal health information (PHI) is a category of information that refers to an

individual’s medical records and history, which is protected under the Health Insurance Portability

and Accountability Act of 1996 (“HIPAA”), which may include test results, procedure

descriptions, diagnoses, personal or family medical histories and data points applied to a set of

demographic information for a particular patient.

        7.       Personally identifiable information (PII) generally incorporates information that

can be used to distinguish or trace an individual’s identity, and is generally defined to include

certain identifiers that do not on their face name an individual, but that is considered to be

particularly sensitive and/or valuable if in the wrong hands (for example, Social Security numbers,

passport numbers, driver’s license numbers, and financial account numbers).

        8.       The vulnerable and potentially exposed data at issue of Plaintiff and the Class stored

on Defendant’s information network, includes, without limitation: full names, Social Security

numbers, dates of birth, addresses, telephone numbers, email addresses, ethnicities, patient types,

and medical record numbers.

        9.       Defendant disregarded the rights of Plaintiff and Class members by intentionally,

willfully, recklessly, or negligently failing to take and implement adequate and reasonable



1
         Bill Toulas, Yale New Haven Health data breach affects 5.5 million patients, BleepingComput. (Apr. 24,
2025, 10:12 AM), https://www.bleepingcomputer.com/news/security/yale-new-haven-health-data-breach-affects-55-
million-patients/.


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measures to ensure that Plaintiff’s and Class members’ PHI/PII and financial information was

safeguarded, failing to take available steps to prevent unauthorized disclosure of data, and failing

to follow applicable, required, and appropriate protocols, policies, and procedures regarding the

encryption of data, even for internal use.

       10.     As a result, the PHI/PII and financial information of Plaintiff and Class members

was compromised through disclosure to an unknown and unauthorized third party—an

undoubtedly nefarious third party that seeks to profit off this disclosure by defrauding Plaintiff and

Class members in the future.

       11.     Plaintiff and Class members have a continuing interest in ensuring that their

information is and remains safe, and they are thus entitled to injunctive and other equitable relief.

II.    JURISDICTION AND VENUE

       12.     Jurisdiction is proper in this Court under 28 U.S.C. §1332 (diversity jurisdiction).

Specifically, this Court has subject matter and diversity jurisdiction over this Action under 28

U.S.C. §1332(d) because this is a class action where the amount in controversy exceeds the sum

or value of $5 million, exclusive of interest and costs, there are more than 100 members in the

proposed Class, and at least one Class member is a citizen of a state different from Defendant.

       13.     Supplemental jurisdiction to adjudicate issues pertaining to state law is proper in

this Court under 28 U.S.C. §1367.

       14.     Defendant is headquartered and routinely conducts business in the State where this

District is located, has sufficient minimum contacts in this State, and has intentionally availed itself

of this jurisdiction by marketing and selling products and services, and by accepting and processing

payments for those products and services, within this State.




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        15.      Venue is proper in this Court under 28 U.S.C. §1391 because a substantial part of

the events that gave rise to Plaintiff’s claims occurred within this District, and Defendant does

business in this Judicial District.

III.    THE PARTIES

        A.       Plaintiff Adam Snitkoff

        16.      Plaintiff Adam Snitkoff is an adult individual and, at all relevant times herein, a

resident and citizen of the State of Connecticut, residing in Fairfield, Connecticut. Plaintiff is a

victim of the Data Breach.

        17.      Plaintiff’s information was stored with Defendant as a result of his dealings with

Defendant.

        18.      As required in order to obtain services from Defendant, Plaintiff provided

Defendant with highly sensitive health and personal information, who then possessed and

controlled it.

        19.      As a result, Plaintiff’s information was among the data accessed by an unauthorized

third party in the Data Breach.

        20.      At all times herein relevant, Plaintiff is and was a member of the Class.

        21.      Plaintiff received a letter from Defendant, dated April 14, 2025, stating that his

PHI/PII and financial information was involved in the Data Breach (the “Notice”).

        22.      Plaintiff was unaware of the Data Breach until receiving that letter.

        23.      As a result, Plaintiff was injured in the form of lost time dealing with the

consequences of the Data Breach, which included and continues to include: (1) time spent verifying

the legitimacy and impact of the Data Breach; (2) time spent exploring credit monitoring and

identity theft insurance options; (3) time spent self-monitoring his accounts with heightened




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scrutiny; and (4) time spent seeking legal counsel regarding his options for remedying and/or

mitigating the effects of the Data Breach.

        24.     Plaintiff was also injured by the material risk to future harm he suffers based on

Defendant’s breach; this risk is imminent and substantial because Plaintiff’s data has been exposed

in the breach, the data involved, including Social Security numbers and healthcare information, is

highly sensitive and presents a high risk of identity theft or fraud; and it is likely, given Defendant’s

clientele, that some of the Class’s information that has been exposed has already been misused.

        25.     Plaintiff suffered actual injury in the form of damages to and diminution in the value

of his PHI/PII—a condition of intangible property that he entrusted to Defendant, which was

compromised in and as a result of the Data Breach.

        26.     Plaintiff, as a result of the Data Breach, has increased anxiety for his loss of privacy

and anxiety over the impact of cybercriminals accessing, using, and selling his PHI/PII and

financial information.

        27.     Plaintiff has suffered imminent and impending injury arising from the substantially

increased risk of fraud, identity theft, and misuse resulting from his PHI/PII and financial

information, in combination with his name, being placed in the hands of unauthorized third

parties/criminals.

        28.     Plaintiff has a continuing interest in ensuring that his PHI/PII and financial

information, which, upon information and belief, remains backed up in Defendant’s possession, is

protected and safeguarded from future breaches.

        B.      Defendant Yale New Haven Health Services Corp.

        29.     Defendant Yale New Haven Health Services Corp. is a Connecticut limited liability

corporation headquartered at 789 Howard Ave., New Haven, Connecticut 06519.




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IV.    CLASS ACTION ALLEGATIONS

       30.     Plaintiff brings this Action pursuant to the provisions of Rules 23(a), (b)(2), and

(b)(3) of the Federal Rules of Civil Procedure, on behalf of himself and the following Class:


       All individuals within the United States of America and its territories whose PHI/PII
       and/or financial information was exposed to unauthorized third parties as a result
       of the data breach experienced by Defendant on March 8, 2025.

       31.     Excluded from the Class are the following individuals and/or entities: (1) Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; (2) all individuals who make a timely election to be excluded

from this proceeding using the correct protocol for opting out; (3) any and all federal, state, or

local governments, including, but not limited to, its departments, agencies, divisions, bureaus,

boards, sections, groups, counsels, and/or subdivisions; and (4) all judges assigned to hear any

aspect of this litigation, as well as its immediate family members.

       32.     Plaintiff reserves the right to amend the above definitions or to propose subclasses

in subsequent pleadings and motions for class certification.

       33.     This Action has been brought and may properly be maintained as a class action

under Federal Rule of Civil Procedure Rule 23 because there is a well-defined community of

interest in the litigation, and membership in the proposed classes is easily ascertainable.

       34.     Numerosity: A class action is the only available method for the fair and efficient

adjudication of this controversy, as the members of the Class are so numerous that joinder of all

members is impractical, if not impossible.

       35.     Commonality: Plaintiff and the Class members share a community of interests in

that there are numerous common questions and issues of fact and law which predominate over any

questions and issues solely affecting individual members, including, but not necessarily limited to:


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      a.    whether Defendant had a legal duty to Plaintiff and the Class to exercise

            due care in collecting, storing, using, and/or safeguarding their PHI/PII

            and financial information;

      b.    whether Defendant knew, or should have known, of the susceptibility of

            its data security systems to a data breach;

      c.    whether Defendant’s security procedures and practices to protect its

            systems were reasonable in light of the measures recommended by data

            security experts;

      d.    whether Defendant’s failure to implement adequate data security

            measures allowed the Data Breach to occur;

      e.    whether Defendant failed to comply with its own policies and applicable

            laws, regulations, and industry standards relating to data security;

      f.    whether Defendant adequately, promptly, and accurately informed

            Plaintiff and Class members that their PHI/PII and financial information

            had been compromised;

      g.    how and when Defendant actually learned of the Data Breach;

      h.    whether Defendant’s conduct, including its failure to act, resulted in, or

            was the proximate cause of, the breach of its systems, resulting in the loss

            of the PHI/PII and financial information of Plaintiff and Class members;

      i.    whether Defendant adequately addressed and fixed the vulnerabilities

            which permitted the Data Breach to occur;




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                  j.       whether Defendant engaged in unfair, unlawful, or deceptive practices by

                           failing to safeguard the PHI/PII and financial information of Plaintiff and

                           Class members;

                  k.       whether Plaintiff and Class members are entitled to actual and/or

                           statutory damages and/or whether injunctive, corrective and/or

                           declaratory relief, and/or accounting is/are appropriate as a result of

                           Defendant’s wrongful conduct; and

                  l.       whether Plaintiff and Class members are entitled to restitution as a result

                           of Defendant’s wrongful conduct.

        36.      Typicality: Plaintiff’s claims are typical of the claims of the Class. Plaintiff and all

members of the Class sustained damages arising out of and caused by Defendant’s common course

of conduct in violation of law, as alleged herein.

        37.      Adequacy of Representation: Plaintiff in this class action is an adequate

representative of the Class in that the Plaintiff has the same interest in the litigation of this case as

the Class members, is committed to the vigorous prosecution of this case, and has retained

competent counsel who are experienced in conducting litigation of this nature.

        38.      Plaintiff is not subject to any individual defenses unique from those conceivably

applicable to other Class members or the Class in its entirety. Plaintiff anticipates no management

difficulties in this litigation.

        39.      Superiority of Class Action: Since the damages suffered by individual Class

members, while not inconsequential, may be relatively small, the expense and burden of individual

litigation by each member make or may make it impractical for members of the Class to seek redress

individually for the wrongful conduct alleged herein. Should separate actions be brought or be



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required to be brought, by each individual member of the Class, the resulting multiplicity of

lawsuits would cause undue hardship and expense for the Court and the litigants.

       40.     The prosecution of separate actions would also create a risk of inconsistent rulings,

which might be dispositive of the interests of the Class members who are not parties to the

adjudications and/or may substantially impede their ability to protect their interests adequately.

       41.     This class action is also appropriate for certification because Defendant has acted

or refused to act on grounds generally applicable to Class members, thereby requiring the Court’s

imposition of uniform relief to ensure compatible standards of conduct toward the Class members

and making final injunctive relief appropriate with respect to the Class in its entirety.

       42.     Defendant’s policies and practices challenged herein apply to and affect Class

members uniformly, and Plaintiff’s challenge of these policies and practices hinges on Defendant’s

conduct with respect to the Class in its entirety, not on facts or law applicable only to Plaintiff.

       43.     Unless a Class-wide injunction is issued, Defendant may continue failing to

properly secure the PHI/PII and financial information of Class members, and Defendant may

continue to act unlawfully as set forth in this Complaint.

       44.     Further, Defendant has acted or refused to act on grounds generally applicable to

the Class and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class members as a whole is appropriate under Rule 23(b)(2) of the Federal Rules of Civil

Procedure.

V.     FACTUAL ALLEGATIONS

       A.      The Data Breach and Defendant’s Failed Response

       45.     Not until after months it claims to have discovered the Data Breach did Defendant

begin sending the Notice to persons whose PHI/PII and financial information Defendant confirmed

were potentially compromised as a result of the Data Breach.

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       46.     The Notice included, inter alia, basic details of the Data Breach, Defendant’s

recommended next steps, and Defendant’s claims that it had learned of the Data Breach on March

8, 2025, and completed a review thereafter.

       47.     Upon information and belief, the unauthorized third-party cybercriminals gained

access to Plaintiff’s and Class members’ PHI/PII and financial information with the intent of

engaging in the misuse of the PHI/PII and financial information, including marketing and selling

Plaintiff’s and Class members’ PHI/PII.

       48.     Defendant had, and continues to have, obligations created by HIPAA, applicable

federal and state law as set forth herein, reasonable industry standards, common law, and its own

assurances and representations to keep Plaintiff’s and Class members’ PHI/PII confidential and to

protect such PHI/PII from unauthorized access.

       49.     Plaintiff and Class members were required to provide their PHI/PII and financial

information to Defendant as a result of their dealings, and in furtherance of this relationship,

Defendant created, collected, and stored Plaintiff’s and Class members’ sensitive information with

the reasonable expectation and mutual understanding that Defendant would comply with its

obligations to keep such information confidential and secure from unauthorized access.

       50.     Despite this, Plaintiff and the Class members remain, even today, in the dark

regarding what particular data was stolen, the particular malware used, and what steps are being

taken, if any, to secure their PHI/PII and financial information going forward.

       51.     Plaintiff and Class members are, thus, left to speculate as to where their PHI/PII

ended up, who has used it, and for what potentially nefarious purposes, and are left to further

speculate as to the full impact of the Data Breach and how exactly Defendant intends to enhance

its information security systems and monitoring capabilities to prevent further breaches.



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       52.     Unauthorized individuals can now easily access the PHI/PII and/or financial

information of Plaintiff and Class members.

       B.      Defendant Collected and Stored Plaintiff’s and Class Members’ PHI/PII and
               Financial Information

       53.     Defendant acquired, collected, and stored and assured reasonable security over

Plaintiff’s and Class members’ PHI/PII and financial information.

       54.     As a condition of its relationships with Plaintiff and Class members, Defendant

required that Plaintiff and Class members entrust Defendant with highly sensitive and confidential

PHI/PII and financial information.

       55.     Defendant, in turn, stored that information in the part of Defendant’s system that

was ultimately affected by the Data Breach.

       56.     By obtaining, collecting, and storing Plaintiff’s and Class members’ PHI/PII and

financial information, Defendant assumed legal and equitable duties and knew, or should have

known, that they were thereafter responsible for protecting Plaintiff’s and Class members’ PHI/PII

and financial information from unauthorized disclosure.

       57.     Plaintiff and Class members have taken reasonable steps to maintain the

confidentiality of their PHI/PII and financial information.

       58.     Plaintiff and Class members relied on Defendant to keep their PHI/PII and

financial information confidential and securely maintained, to use this information for business

purposes only, and to make only authorized disclosures of this information.

       59.     Defendant could have prevented the Data Breach, which began no later than March

8, 2025, by adequately securing and encrypting and/or more securely encrypting its servers

generally, as well as Plaintiff’s and Class members’ PHI/PII and financial information.




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       60.     Defendant’s negligence in safeguarding Plaintiff’s and Class members’ PHI/PII

and financial information is exacerbated by repeated warnings and alerts directed to protecting and

securing sensitive data, as evidenced by the trending data breach attacks in recent years.

       61.     Yet, despite the prevalence of public announcements of data breach and data

security compromises, Defendant failed to take appropriate steps to protect Plaintiff’s and

Class members’ PHI/PII and financial information from being compromised.

       C.      Defendant Had an Obligation to Protect Plaintiff’s and the Class’ Stolen
               Information

       62.     Defendant’s failure to adequately secure Plaintiff’s and Class members’ sensitive

data breaches duties it owes Plaintiff and Class members under statutory and common law. Under

HIPAA, health insurance providers have an affirmative duty to keep patients’ PHI private. As a

covered entity, Defendant has a statutory duty under HIPAA and other federal and state statutes to

safeguard Plaintiff’s and Class members’ data.          Moreover, Plaintiff and Class members

surrendered their highly sensitive personal data to Defendant under the implied condition that

Defendant would keep it private and secure. Accordingly, Defendant also has an implied duty to

safeguard their data, independent of any statute.

       63.     Because Defendant is covered by HIPAA (45 C.F.R. §160.102 (2013)), it is

required to comply with the HIPAA Privacy Rule, 45 C.F.R. Part 160 and Part 164, Subparts A

and E (“Standards for Privacy of Individually Identifiable Health Information”), and Security Rule,

45 C.F.R. Part 160 and Part 164, Subparts A and C (“Security Standards for the Protection of

Electronic Protected Health Information”).

       64.     HIPAA’s Privacy Rule or Standards for Privacy of Individually Identifiable Health

Information establishes national standards for protecting health information.




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       65.     HIPAA’s Security Rule or Security Standards for the Protection of Electronic

Protected Health Information establishes a national set of security standards for protecting health

information that is kept or transferred in electronic form.

       66.     HIPAA requires Defendant to “comply with the applicable standards,

implementation specifications, and requirements” of HIPAA “with respect to electronically

protected health information.” 45 C.F.R. §164.302 (2013).

       67.     “Electronic protected health information” is “individually identifiable health

information . . . that is: (i) transmitted by electronic media; [and] (ii ) maintained in electronic

media.” 45 C.F.R. §160.103 (2011).

       68.     HIPAA’s Security Rule requires Defendant to do the following:

                 a.     ensure the confidentiality, integrity, and availability of all electronically

                        protected health information the covered entity or business associate

                        creates, receives, maintains, or transmits;

                 b.     protect against any reasonably anticipated threats or hazards to the security

                        or integrity of such information;

                 c.     protect against any reasonably anticipated uses or disclosures of

                        such information that are not permitted; and

                 d.     ensure compliance by its workforce.

       69.     HIPAA also requires Defendant to “review and modify the security measures

implemented . . . as needed to continue provision of reasonable and appropriate protection of

electronic[ally] protected health information” under 45 C.F.R. §164.306(e) (2013), and to

“[i]mplement technical policies and procedures for electronic information systems that maintain




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electronic[ally] protected health information to allow access only to those persons or software

programs that have been granted access rights.” 45 C.F.R. §164.312(a)(1) (2013).

         70.      Moreover, the HIPAA Breach Notification Rule, 45 C.F.R. §§164.400-414,

requires Defendant to provide notice of the Data Breach to each affected individual “without

unreasonable delay and in no case later than 60 days following the discovery of the breach.”

         71.      Defendant was also prohibited by the Federal Trade Commission Act of 1914 (the

“FTC Act”) (15 U.S.C. §45) from engaging in “unfair or deceptive acts or practices in or affecting

commerce.”2

         72.      In addition to its obligations under federal and state laws, Defendant owed a duty

to Plaintiff and Class members to exercise reasonable care in obtaining, retaining, securing,

safeguarding, deleting, and protecting the PHI/PII and financial information in Defendant’s

possession from being compromised, lost, stolen, accessed, and misused by unauthorized

persons.

         73.      Defendant owed a duty to Plaintiff and Class members to provide reasonable

security, including consistency with industry standards and requirements, and to ensure that its

computer systems, networks, and protocols adequately protected the PHI/PII and financial

information of Plaintiff and Class members.

         74.      Defendant owed a duty to Plaintiff and Class members to design, maintain, and test

its computer systems, servers, and networks to ensure that the PHI/PII and financial information

was adequately secured and protected.




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        The Federal Trade Commission (the “FTC”) has concluded that a company’s failure to maintain reasonable
and appropriate data security for consumers’ sensitive personal information is an “unfair practice” in violation of the
FTC Act. See, e.g., F.T.C. v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir. 2015).


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       75.     Defendant owed a duty to Plaintiff and Class members to create and implement

reasonable data security practices and procedures to protect the PHI/PII and financial information

in its possession, including not sharing information with other entities who maintained sub-standard

data security systems.

       76.     Defendant owed a duty to Plaintiff and Class members to implement processes that

would immediately detect a breach in its data security systems in a timely manner.

       77.     Defendant owed a duty to Plaintiff and Class members to act upon data security

warnings and alerts in a timely fashion.

       78.     Defendant owed a duty to Plaintiff and Class members to disclose if its computer

systems and data security practices were inadequate to safeguard individuals’ PHI/PII and/or

financial information from theft because such an inadequacy would be a material fact in the

decision to entrust this PHI/PII and/or financial information to Defendant.

       79.     Defendant owed a duty of care to Plaintiff and Class members because they were

foreseeable and probable victims of any inadequate data security practices.

       80.     Defendant owed a duty to Plaintiff and Class members to encrypt and/or more

reliably encrypt Plaintiff’s and Class members’ PHI/PII and financial information and monitor user

behavior and activity in order to identify possible threats.

       D.      The Stolen Information Is Valuable

       81.     PHI/PII and financial information are valuable commodities for which a “cyber

black market” exists in which criminals openly post stolen payment card numbers, Social Security

numbers, and other personal information on several underground internet websites.

       82.     Numerous sources cite dark web pricing for stolen identity credentials; for example,

personal information can be sold at a price ranging from $40 to $200, and bank details have a price




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range of $50 to $2003; Experian reports that a stolen credit or debit card number can sell for $5 to

$110 on the dark web4; and other sources report that criminals can also purchase access to entire

company data breaches from $999 to $4,995.5

         83.      Identity thieves can use PHI/PII and financial information, such as that of Plaintiff

and Class members, which Defendant failed to keep secure, to perpetrate a variety of crimes that

harm victims—for instance, identity thieves may commit various types of government fraud such

as immigration fraud, obtaining a driver’s license or identification card in the victim’s name but

with another’s picture, using the victim’s information to obtain government benefits, or filing a

fraudulent tax return using the victim’s information to obtain a fraudulent refund.

         84.      There may be a time lag between when harm occurs versus when it is discovered,

and also between when PHI/PII and/or financial information is stolen and when it is used:

according to the U.S. Government Accountability Office (“GAO”), which conducted a study

regarding data breaches:

         [L]aw enforcement officials told us that in some cases, stolen data might be held for
         up to a year or more before being used to commit identity theft. Further, once stolen
         data have been sold or posted on the Web, fraudulent use of that information may
         continue for years. As a result, studies that attempt to measure the harm resulting
         from data breaches cannot necessarily rule out all future harm.6

         85.      Here, Defendant knew of the importance of safeguarding PHI/PII and financial

information and of the foreseeable consequences that would occur if Plaintiff’s and Class members’



3
          Anita George, Your personal data is for sale on the dark web. Here’s how much it costs, Digital Trends (Oct.
16, 2019), https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/.
4
          Brian Stack, Here’s How Much Your Personal Information Is Selling for on the Dark Web, Experian (Dec.
6, 2017), https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-selling-for-
on-the-dark-web/.
5
          In the Dark, VPN Overview (2019), https://vpnoverview.com/privacy/anonymous-browsing/in-the-dark/
(last accessed Apr. 25, 2025).
6
          U.S. Gov't Accountability Off., GAO-07-737, Data Breaches are Frequent, but Evidence of Resulting Identity
Theft      is   Limited;     However,      the    Full     Extent    is   Unknown,     at     29      (June    2007),
http://www.gao.gov/new.items/d07737.pdf.


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PHI/PII and financial information were stolen, including the significant costs that would be placed

on Plaintiff and Class members as a result of a breach of this magnitude.

       86.     As detailed above, Defendant is a sophisticated organization with the resources to

deploy robust cybersecurity protocols. It knew, or should have known, that the development and

use of such protocols were necessary to fulfill its statutory and common law duties to Plaintiff and

Class members. Therefore, its failure to do so is intentional, willful, reckless, and/or grossly

negligent.

       87.     Defendant disregarded the rights of Plaintiff and Class members by, inter alia: (i)

intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable measures

to ensure that its network servers were protected against unauthorized intrusions; (ii) failing to

disclose that they did not have adequately robust security protocols and training practices in place

to adequately safeguard Plaintiff’s and Class members’ PHI/PII and financial information; (iii)

failing to take standard and reasonably available steps to prevent the Data Breach; (iv) concealing

the existence and extent of the Data Breach for an unreasonable duration of time; and (v) failing

to provide Plaintiff and Class members prompt and accurate notice of the Data Breach.

VI.    CLAIMS FOR RELIEF

                                         COUNT ONE
                                           Negligence
                                     (On behalf of the Class)

       88.     Plaintiff realleges and reincorporates every allegation set forth in the preceding

paragraphs as though fully set forth herein.

       89.     At all times herein relevant, Defendant owed Plaintiff and Class members a duty of

care, inter alia, to act with reasonable care to secure and safeguard their PHI/PII and financial

information and to use commercially reasonable methods to do so. Defendant took on this




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obligation upon accepting and storing the PHI/PII and financial information of Plaintiff and Class

members in its computer systems and on its networks.

       90.     Among these duties, Defendant was expected:

                a.      to exercise reasonable care in obtaining, retaining, securing,

                        safeguarding, deleting, and protecting the PHI/PII and financial

                        information in its possession;

                b.      to protect Plaintiff’s and Class members’ PHI/PII and financial

                        information using reasonable and adequate security procedures and

                        systems that were/are compliant with industry-standard practices;

                c.      to implement processes to detect the Data Breach quickly and to timely

                        act on warnings about data breaches; and

                d.      to promptly notify Plaintiff and Class members of any data breach,

                        security incident, or intrusion that affected or may have affected their

                        PHI/PII and financial information.

       91.     Defendant knew that the PHI/PII and financial information was private and

confidential and should be protected as private and confidential and, thus, Defendant owed a duty

of care not to subject Plaintiff and Class members to an unreasonable risk of harm because they

were foreseeable and probable victims of any inadequate security practices.

       92.     Defendant knew, or should have known, of the risks inherent in collecting and

storing PHI/PII and financial information, the vulnerabilities of its data security systems, and the

importance of adequate security.

       93.     Defendant knew about numerous, well-publicized data breaches.




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        94.        Defendant knew, or should have known, that its data systems and networks did not

adequately safeguard Plaintiff’s and Class members’ PHI/PII and financial information.

        95.        Only Defendant was in the position to ensure that its systems and protocols were

sufficient to protect the PHI/PII and financial information that Plaintiff and Class members had

entrusted to it.

        96.        Defendant breached its duties to Plaintiff and Class members by failing to provide

fair, reasonable, or adequate computer systems and data security practices to safeguard their

PHI/PII and financial information.

        97.        Because Defendant knew that a breach of its systems could damage thousands of

individuals, including Plaintiff and Class members, Defendant had a duty to adequately protect its

data systems and the PHI/PII and financial information contained therein.

        98.        Plaintiff’s and Class members’ willingness to entrust Defendant with their PHI/PII

and financial information was predicated on the understanding that Defendant would take adequate

security precautions.

        99.        Moreover, only Defendant had the ability to protect its systems and the PHI/PII and

financial information it stored on them from attack. Thus, Defendant had a special relationship

with Plaintiff and Class members.

        100.       Defendant also had independent duties under state and federal laws that required

Defendant to reasonably safeguard Plaintiff’s and Class members’ PHI/PII and financial

information and promptly notify them about the Data Breach. These “independent duties” are

untethered to any contract between Defendant, Plaintiff, and/or the remaining Class members.

        101.       Defendant breached its general duty of care to Plaintiff and Class members in, but

not necessarily limited to, the following ways:



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       a.    by failing to provide fair, reasonable, or adequate computer systems and

             data security practices to safeguard the PHI/PII and financial information

             of Plaintiff and Class members;

       b.    by failing to timely and accurately disclose that Plaintiff’s and Class

             members’ PHI/PII and financial information had been improperly acquired

             or accessed;

       c.    by failing to adequately protect and safeguard the PHI/PII and financial

             information by knowingly disregarding standard information security

             principles, despite obvious risks, and by allowing unmonitored and

             unrestricted access to unsecured PHI/PII and financial information;

       d.    by failing to provide adequate supervision and oversight of the PHI/PII

             and financial information with which it was and is entrusted, in spite of

             the known risk and foreseeable likelihood of breach and misuse, which

             permitted an unknown third party to gather PHI/PII and financial

             information of Plaintiff and Class members, misuse the PHI/PII, and

             intentionally disclose it to others without consent;

       e.    by failing to adequately train its employees not to store PHI/PII and

             financial information longer than absolutely necessary;

       f.    by failing to consistently enforce security policies aimed at protecting

             Plaintiff’s and the Class members’ PHI/PII and financial information;

       g.    by failing to implement processes to detect data breaches, security

             incidents, or intrusions quickly; and




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                h.      by failing to encrypt Plaintiff’s and Class members’ PHI/PII and financial

                        information and monitor user behavior and activity in order to identify

                        possible threats.

       102.    Defendant’s willful failure to abide by these duties was wrongful, reckless, and

grossly negligent in light of the foreseeable risks and known threats.

       103.    As a proximate and foreseeable result of Defendant’s grossly negligent conduct,

Plaintiff and Class members have suffered damages and are at imminent risk of additional harms

and damages.

       104.    The law further imposes an affirmative duty on Defendant to timely disclose the

unauthorized access and theft of the PHI/PII and financial information to Plaintiff and Class

members so that they could and/or still can take appropriate measures to mitigate damages, protect

against adverse consequences, and thwart future misuse of their PHI/PII and financial information.

       105.    Defendant breached its duty to notify Plaintiff and Class members of the

unauthorized access by waiting months after learning of the Data Breach to notify Plaintiff and

Class members and then by failing and continuing to fail to provide Plaintiff and Class members

sufficient information regarding the breach.

       106.    To date, Defendant has not provided sufficient information to Plaintiff and Class

members regarding the extent of the unauthorized access and continues to breach its disclosure

obligations to Plaintiff and Class members.

       107.    Further, through its failure to provide timely and clear notification of the Data

Breach to Plaintiff and Class members, Defendant prevented Plaintiff and Class members from

taking meaningful, proactive steps to secure their PHI/PII and financial information.




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        108.    There is a close causal connection between Defendant’s failure to implement

security measures to protect the PHI/PII and financial information of Plaintiff and Class members

and the harm suffered, or risk of imminent harm suffered by Plaintiff and Class members.

        109.    Plaintiff’s and Class members’ PHI/PII and financial information was accessed as

the proximate result of Defendant’s failure to exercise reasonable care in safeguarding such

PHI/PII and financial information by adopting, implementing, and maintaining appropriate

security measures.

        110.    Defendant’s wrongful actions, inactions, and omissions constituted (and continue

to constitute) common law negligence.

        111.    The damages Plaintiff and Class members have suffered (as alleged above) and will

suffer were and are the direct and proximate result of Defendant’s grossly negligent conduct.

        112.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and Class members have suffered and will suffer injury, including, but not limited to: (i)

actual identity theft; (ii) the loss of the opportunity of how their PHI/PII and financial information is

used; (iii) the compromise, publication, and/or theft of their PHI/PII and financial information; (iv)

out-of-pocket expenses associated with the prevention, detection, and recovery from identity theft,

tax fraud, and/or unauthorized use of their PHI/PII and financial information; (v) lost opportunity

costs associated with effort expended and the loss of productivity addressing and attempting to

mitigate the actual and future consequences of the Data Breach, including, but not limited to,

efforts spent researching how to prevent, detect, contest, and recover from embarrassment and

identity theft; (vi) the continued risk to their PHI/PII and financial information, which may remain

in Defendant’s possession and is subject to further unauthorized disclosures so long as Defendant

fails to undertake appropriate and adequate measures to protect Plaintiff’s and Class members’



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PHI/PII and financial information in its continued possession; and (vii) future costs in terms of

time, effort, and money that will be expended to prevent, detect, contest, and repair the impact of

the PHI/PII and financial information compromised as a result of the Data Breach for the remainder

of the lives of Plaintiff and Class members.

       113.    As a direct and proximate result of Defendant’s negligence and negligence per se,

Plaintiff and Class members have suffered and will continue to suffer other forms of injury and/or

harm, including, but not limited to, anxiety, emotional distress, loss of privacy, and other economic

and non-economic losses.

       114.    Additionally, as a direct and proximate result of Defendant’s negligence, Plaintiff

and Class members have suffered and will suffer the continued risks of exposure of their PHI/PII

and financial information, which remain in Defendant’s possession and are subject to further

unauthorized disclosures so long as Defendant fails to undertake appropriate and adequate

measures to protect the PHI/PII and financial information in its continued possession.

                                       COUNT TWO
                                  Breach of Implied Contract
                                   (On behalf of the Class)

       115.    Plaintiff realleges and reincorporates every allegation set forth in the preceding

paragraphs as though fully set forth herein.

       116.    Through its course of conduct, Defendant, Plaintiff, and Class members entered

into implied contracts for Defendant to implement data security adequate to safeguard and protect

the privacy of Plaintiff’s and Class members’ PHI/PII and financial information.

       117.    Defendant required Plaintiff and Class members to provide and entrust their

PHI/PII and financial information as a condition of obtaining Defendant’s services.

       118.    Defendant solicited and invited Plaintiff and Class members to provide their

PHI/PII and financial information as part of Defendant’s regular business practices.

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        119.    Plaintiff and Class members accepted Defendant’s offers and provided their

PHI/PII and financial information to Defendant.

        120.    As a condition of their relationship with Defendant, Plaintiff and Class members

provided and entrusted their PHI/PII and financial information to Defendant.

        121.    In so doing, Plaintiff and Class members entered into implied contracts with

Defendant by which Defendant agreed to safeguard and protect such non-public information, to

keep such information secure and confidential, and to timely and accurately notify Plaintiff and

Class members if their data had been breached and compromised or stolen.

        122.    A meeting of the minds occurred when Plaintiff and Class members agreed to, and

did, provide their PHI/PII and financial information to Defendant, in exchange for, amongst other

things, the protection of their PHI/PII and financial information.

        123.    Plaintiff and Class members fully performed their obligations under the implied

contracts with Defendant.

        124.    Defendant breached its implied contracts with Plaintiff and Class members by

failing to safeguard and protect their PHI/PII and financial information and by failing to provide

timely and accurate notice to them that their PHI/PII and financial information was compromised

as a result of the Data Breach.

        125.    As a direct and proximate result of Defendant’s above-described breach of implied

contract, Plaintiff and Class members have suffered (and will continue to suffer): (a) ongoing,

imminent, and impending threat of identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm; (b) actual identity theft crimes, fraud, and abuse, resulting in monetary

loss and economic harm; (c) loss of the confidentiality of the stolen confidential data; (d) the illegal




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sale of the compromised data on the dark web; (e) lost work time; and (f) other economic and non-

economic harm.

                                     COUNT THREE
              Breach of the Implied Covenant of Good Faith and Fair Dealing
                                  (On behalf of the Class)

       126.    Plaintiff realleges and reincorporates every allegation set forth in the preceding

paragraphs as though fully set forth herein.

       127.    Every contract in this State has an implied covenant of good faith and fair dealing,

which is an independent duty and may be breached even when there is no breach of a contract’s

actual and/or express terms.

       128.    Plaintiff and Class members have complied with and performed all conditions of

their contracts with Defendant.

       129.    Defendant breached the implied covenant of good faith and fair dealing by failing

to maintain adequate computer systems and data security practices to safeguard PHI/PII and

financial information, failing to timely and accurately disclose the Data Breach to Plaintiff and

Class members, and its continued acceptance of PHI/PII and financial information and storage of

other personal information after Defendant knew, or should have known, of the security

vulnerabilities of the systems that were exploited in the Data Breach.

       130.    Defendant acted in bad faith and/or with malicious motive in denying Plaintiff and

Class members the full benefit of their bargains as originally intended by the parties, thereby

causing them injury in an amount to be determined at trial.

                                        COUNT FOUR
                                       Unjust Enrichment
                                     (On behalf of the Class)

       131.    Plaintiff realleges and reincorporates every allegation set forth in the preceding

paragraphs as though fully set forth herein.

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       132.    By its wrongful acts and omissions described herein, Defendant has obtained a

benefit by unduly taking advantage of Plaintiff and Class members.

       133.    Defendant, prior to and at the time Plaintiff and Class members entrusted their

PHI/PII and financial information to Defendant, caused Plaintiff and Class members to reasonably

believe that Defendant would keep such PHI/PII and financial information secure.

       134.    Defendant was aware, or should have been aware, that reasonable patients and

consumers would have wanted their PHI/PII and financial information kept secure and would not

have contracted with Defendant, directly or indirectly, had they known that Defendant’s

information systems were sub-standard for that purpose.

       135.    Defendant was also aware that, if the substandard condition of and vulnerabilities

in its information systems were disclosed, it would negatively affect Plaintiff’s and Class members’

decisions to seek services therefrom.

       136.    Defendant failed to disclose facts pertaining to its substandard information systems,

defects, and vulnerabilities therein before Plaintiff and Class members made their decisions to

make purchases, engage in commerce therewith, and seek services or information.

       137.    Instead, Defendant suppressed and concealed such information. By concealing and

suppressing that information, Defendant denied Plaintiff and Class members the ability to make a

rational and informed purchasing and servicing decision and took undue advantage of Plaintiff and

Class members.

       138.    Defendant was unjustly enriched at the expense of Plaintiff and Class members, as

Defendant received profits, benefits, and compensation, in part, at the expense of Plaintiff and Class

members; however, Plaintiff and Class members did not receive the benefit of their bargain




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because they paid for products and or services (or provided those services) that did not satisfy the

purposes for which they bought/sought them.

       139.    Since Defendant’s profits, benefits, and other compensation were obtained

improperly, Defendant is not legally or equitably entitled to retain any of the benefits,

compensation, or profits it realized from these transactions.

       140.    Plaintiff and Class members seek an Order of this Court requiring Defendant to

refund, disgorge, and pay as restitution any profits, benefits, and other compensation obtained by

Defendant from its wrongful conduct and/or the establishment of a constructive trust from which

Plaintiff and Class members may seek restitution.

VII.   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of herself and each member of the proposed Class,

respectfully requests that the Court enter judgment in her favor and for the following specific

relief against Defendant as follows:

       1.      That the Court declare, adjudge, and decree that this Action is a proper class action

and certify the proposed class under Fed. R. Civ. P. Rule 23 (b)(1), (b)(2), and/or (b)(3), including

the appointment of Plaintiff’s counsel as Class Counsel;

       2.      For an award of damages, including actual, nominal, and consequential damages,

as allowed by law in an amount to be determined;

       3.      That the Court enjoin Defendant, ordering it to cease from unlawful activities;

       4.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

complained of herein pertaining to the misuse and/or disclosure of Plaintiff’s and Class members’

PHI/PII, and from refusing to issue prompt, complete, and accurate disclosures to Plaintiff and

Class members;




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       5.      For injunctive relief requested by Plaintiff, including, but not limited to, injunctive

and other equitable relief as is necessary to protect the interests of Plaintiff and Class members,

including, but not limited to, an Order:

                a.      prohibiting Defendant from engaging in the wrongful and unlawful acts

                        described herein;

                b.      requiring Defendant to protect, including through encryption, all data

                        collected through the course of business in accordance with all applicable

                        regulations, industry standards, and federal, state, or local laws;

                c.      requiring Defendant to delete and purge the PHI/PII of Plaintiff and Class

                        members unless Defendant can provide to the Court reasonable

                        justification for the retention and use of such information when weighed

                        against the privacy interests of Plaintiff and Class members;

                d.      requiring Defendant to implement and maintain a comprehensive

                        Information Security Program designed to protect the confidentiality and

                        integrity of Plaintiff’s and Class members’ PHI/PII;

                e.      requiring Defendant to engage independent third-party security auditors

                        and internal personnel to run automated security monitoring, simulated

                        attacks, penetration tests, and audits on Defendant’s systems

                        periodically;

                f.      prohibiting Defendant from maintaining Plaintiff’s and Class members’

                        PHI/PII on a cloud-based database;




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       g.    requiring Defendant to segment data by creating firewalls and access

             controls so that, if one area of Defendant’s network is compromised,

             hackers cannot gain access to other portions of Defendant’s systems;

       h.    requiring Defendant to conduct regular database scanning and securing

             checks;

       i.    requiring Defendant to establish an information security training program

             that includes at least annual information security training for all employees,

             with additional training to be provided as appropriate based upon the

             employees’ respective responsibilities with handling PHI/PII, as well as

             protecting the PHI/PII of Plaintiff and Class members;

       j.    requiring Defendant to implement a system of tests to assess its

             respective employees’ knowledge of the education programs discussed

             in the preceding subparagraphs, as well as randomly and periodically

             testing employees’ compliance with Defendant’s policies, programs, and

             systems for protecting personal identifying information;

       k.    requiring Defendant to implement, maintain, review, and revise as

             necessary a threat management program to monitor Defendant’s networks

             for internal and external threats appropriately, and assess whether

             monitoring tools are properly configured, tested, and updated; and

       l.    requiring Defendant to meaningfully educate all Class members about the

             threats they face due to the loss of their confidential personal identifying

             information to third parties, as well as the steps affected individuals must

             take to protect themselves.



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        6.      For prejudgment interest on all amounts awarded, at the prevailing legal rate;

        7.      For an award of attorney’s fees, costs, and litigation expenses, as allowed by law;

and

        8.      For all other Orders, findings, and determinations identified and sought in this

Complaint.

VIII. JURY DEMAND

        Plaintiff, individually, and on behalf of the Class, hereby demands a trial by jury for all

issues triable by jury.

Dated: May 6, 2025                            Respectfully submitted,

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